 

CaSe 18-07569-LA7 Filed 01/10/19 Entered 01/10/19 18240:25 DOC 10 PQ. 1 Of 1

MUTUAL WAIVER OF RIGHT TO CLA]M S'I`ATE EXEMPTIONS,
OT[-IBR THAN THOSE PROVIDED IN CALIFORN`IA CODE OF CIVIL PROCEDURE
SECTION 703.140(b), DURJNG PENDENCY OF BANKRUPTCY CASE
(California Code of Civil Procedure § 703.140(a)(2))

l. lDENTIFICATION OF PARTIES. This mutual waiver, is made by

,»

as husband and wife. n

2. PURPOSE OF THIS WAIVER. 'I`his waiver is made to satisfy the requirement set
forth in Califomia Code of Civil Procedure § 703.140(3)(2) regarding the election of exemptions
pursuant to § 703. 140(b) by married debtors who file an individual bankruptcy petition.

3. LEGAL RIGHTS WAIVED. Californja. Code of Civil Procedure § 703.140(a)(2)
provides:

lF THE PETITION IS FILED lNDIVlDUALLY, AND NOT
JOINTLY, FOR A SPOUSE, THE EXEMPTIONS PROVIDED BY
TH]S CHAPTER OTHER THAN TI-IE PROVISIONS OF
SUBDIVISION (b) ARE APPLICABLE, EXCEPT THAT, IF BOTH
OF THE SPOUSES EFFEC'I`IVELY WAIVE IN WR_ITING THE
R_[GHT TO CLA_lM, DUR]]\IG 'I`HE PERIOD THE CASE
COIV[MENCED BY FIL]NG THE PETI'I`ION IS PENDING, 'I`HE
EX_EMPTIONS PROVIDED BY THE APPLICABLE EXEMPTION
PROVISIONS OF THlS CHAPTER_, OTHER THAN SUBDIVISION
(b), TN ANY CASE COMMENCED BY FILING A PETITION FOR
EITH_ER OF THEM UNDER TITLE ll OF THE UNITED STA'I`ES
CODE, THEN THEY MAY ELECT TO INS'[`EAD UTILIZE THE
APPLICABLE EXEMPTIONS SET FORTH IN SUBDIVISION (b).

4. MUTUAL WAIVER. Both parties, by executing this agreement below, hereby waive
their right to claim any state exemptions, other than those provided in C liform`a Code of Civil
Procedure § 703.140(b), during the pendency of the chapter 7 bankruptcy ofW
filed in the U.S. Bankruptcy Court for the Southem Distn`ct of Ca]ifornia.

5. RIGHT TO HAVE INDEPENDENT COUNSEL REVIEW WAIVER. Both parties
acknowledge that they have been informed of their right to consult an attorney regarding the effect of

this waiver on them.

The foregoing mutual waiver is agreed to by:

Dated:

 

 

(H'usband)

Dated:

 

 

(Wit`e)

Revised 0/20/2018 EXHIBIT B

 

